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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     :
 STEPHEN BUSHANSKY,                                  :
                                                     :   Case No._______________
                                                     :
                      Plaintiff,                     :
                                                     :   COMPLAINT FOR VIOLATIONS OF
            v.                                       :
                                                     :   THE FEDERAL SECURITIES LAWS
 WPX ENERGY, INC., KIMBERLY S.                       :
                                                     :   JURY TRIAL DEMANDED
 LUBEL, JOHN A. CARRIG, DAVID F.
 WORK, ROBERT K. HERDMAN, KELT                       :
                                                     :
 KINDICK, KARL F. KURZ, HENRY E.                     :
 LENTZ, VALERIE M. WILLIAMS,                         :
 RICHARD E. MUNCRIEF, and CLAY M.                    :
 GASPAR,                                             :
                                                     :
                      Defendants.                    :
                                                     :

       Plaintiff Stephen Bushansky (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                         NATURE AND SUMMARY OF THE ACTION

       1.        This is an action brought by Plaintiff against WPX Energy, Inc. (“WPX” or the

“Company”) and the members of its Board of Directors (the “Board” or the “Individual

Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange

Commission (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on the Company’s

proposed acquisition of Felix Energy Holdings II, LLC (“Felix”) through its affiliate Felix

Investments Holdings II, LLC (“Felix Parent”) (the “Proposed Transaction”).
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       2.      On December 15, 2019, WPX issued a press release announcing that it had entered

into a Securities Purchase Agreement dated December 15, 2019 (the “Merger Agreement”) to

acquire Felix. Under the terms of the Merger Agreement, WPX will purchase 100% of the issued

and outstanding membership interests in Felix for $2.5 billion, consisting of: (i) $900 million in

cash; and (ii) 152,963,671 shares of Company common stock (“Merger Consideration”).

       3.      On February 5, 2020, WPX filed a Schedule 14A Definitive Proxy Statement (the

“Proxy Statement”) with the SEC.         The Proxy Statement, which recommends that WPX

stockholders vote in favor of the Proposed Transaction, omits or misrepresents material

information concerning, among other things: (i) WPX management’s and Felix’s financial

projections, relied upon by the Company’s financial advisor, Tudor Pickering Holt & Co. Advisors

LP (“TPH”), in its financial analyses; (ii) the data and inputs underlying the financial valuation

analyses that support the fairness opinion provided by TPH; (iii) TPH’s and the Company’s

additional financial advisor, Barclays Capital Inc.’s (“Barclays”), potential conflicts of interest;

and (iv) the background of the Proposed Transaction. Defendants authorized the issuance of the

false and misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange

Act.

       4.      In short, unless remedied, WPX’s public stockholders will be irreparably harmed

because the Proxy Statement’s material misrepresentations and omissions prevent them from

making a sufficiently informed voting decision on the Proposed Transaction. Plaintiff seeks to

enjoin the stockholder vote on the Proposed Transaction unless and until such Exchange Act

violations are cured.

                                JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to



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Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        6.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District. WPX’s common stock trades on

the New York Stock Exchange, which is headquartered in this District, rendering venue in this

District appropriate in this District.

                                          THE PARTIES

        8.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

WPX.

        9.       Defendant WPX is a Delaware corporation, with its principal executive offices

located at 3500 One Williams Center, Tulsa, Oklahoma 74172. The Company is an independent

energy producer with core positions in the Permian and Williston basins. WPX’s common stock

trades on the New York Stock Exchange under the ticker symbol “WPX.”

        10.      Defendant Kimberly S. Lubel (“Lubel”) has been a director of the Company since

December 2011.

        11.      Defendant John A. Carrig (“Carrig”) has been a director of the Company since

December 2011.

        12.      Defendant David F. Work (“Work”) has been a director of the Company since

December 2011.




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        13.   Defendant Robert K. Herdman (“Herdman”) has been a director of the Company

since December 2011.

        14.   Defendant Kelt Kindick (“Kindick”) has been a director of the Company since

January 2013 and independent Lead Director since May 2018.

        15.   Defendant Karl F. Kurz (“Kurz”) has been a director of the Company since January

2014.

        16.   Defendant Henry E. Lentz (“Lentz”) has been a director of the Company since

December 2011.

        17.   Defendant Valerie M. Williams (“Williams”) has been a director of the Company

since March 2018.

        18.   Defendant Richard E. Muncrief (“Muncrief”) has been Chief Executive Officer

(“CEO”) and a director of the Company since May 2014 and Chairman of the Board since January

2017.

        19.   Defendant Clay M. Gaspar (“Gaspar”) has been President of the Company since

2017, Chief Operating Officer (“COO”) of the Company since 2015, and a director of the

Company since 2019.

        20.   Defendants identified in paragraphs 10-19 are referred to herein as the “Board” or

the “Individual Defendants.”

                               OTHER RELEVANT ENTITIES

        21.   Felix is an exploration and production company based in Denver, Colorado,

focusing on the development of oil and gas reserves in the Delaware Basin, with core operations

located in Loving, Reeves, Ward and Winkler Counties in West Texas.




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        22.     Felix Parent is a holding company, affiliated with EnCap Energy Capital Fund X,

L.P. and members of Felix’s management team, formed to make investments in, and own equity

interests of, Felix.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and Proposed Transaction

        23.     Incorporated in 2011, WPX is an independent oil and natural gas exploration and

production company engaged in the exploitation and development of long-life unconventional

properties. The Company is focused on exploiting, developing and growing its oil positions in the

Delaware Basin in Texas and New Mexico and the Williston Basin in North Dakota. As of

December 31, 2018, the Company’s proved reserves were 479 million barrels of oil equivalent

(“MMboe”), reflecting a mix of 61% crude oil, 21% natural gas, and 18% natural gas liquids

(“NGLs”).

        24.     On October 30, 2019, WPX issued a press release announcing its third quarter 2019

financial results. The Company reported third-quarter oil volumes of 108,600 barrels per day, a

30% increase from the third quarter 2018, adjusted EBITDAX of $352 million, a 22% increase

from $288 million in the third quarter 2018, and cash flow from operations, inclusive of hedge

impact, of $272 million, up 21% from $224 million in the third quarter 2018. Defendant Muncrief

commented on the strong financial results, stating:

        We generated free cash flow in the quarter, are returning capital to shareholders
        ahead of schedule and are applying our technical expertise to lower costs and raise
        margins on barrels produced . . . All of this contributes to an exceptional outlook
        for the fourth quarter, 2020 and beyond, especially with improved capital
        efficiency, greater gas capture, lower interest expense and how we’re working to
        drive our leverage even lower.

        25.     On December 16, 2019, WPX issued a press release announcing the Proposed

Transaction. The press release states, in relevant part:




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TULSA, Okla.--WPX Energy (NYSE:WPX) is taking another significant step in
its commitment to delivering shareholder value with the $2.5 billion purchase of
Felix Energy, one of the highest quality Delaware Basin operators.

Felix has approximately 1,500 gross undeveloped locations in the eastern portion
of the basin, with expected production of approximately 60 MBoe/d (70% oil) at
the time of anticipated closing.

WPX plans to implement a dividend post-closing, targeting approximately $0.10
per share on an annualized basis at initiation.

The acquisition and dividend program follow other steps WPX took in 2019 to
enhance its value proposition, including reducing net debt, executing attractive
midstream monetizations, launching a share buyback program and generating free
cash flow.

The purchase price consists of $900 million cash, subject to closing adjustments,
and $1.6 billion in WPX stock issued to the seller. WPX plans to fund the cash
portion through issuance of $900 million of senior notes on an opportunistic basis.
WPX also has obtained committed financing from Barclays in connection with the
transaction and has full access to a $1.5 billion revolving credit facility.

The stock consideration comprises approximately 153 million WPX shares, which
is based on the 10-day volume-weighted average price as of Dec. 13, 2019. The
transaction is subject to customary closing conditions and approval by WPX
shareholders.

The parties anticipate closing the transaction early in the second quarter of 2020.
WPX’s board unanimously approved the transaction.

STRATEGIC RATIONALE & TRANSACTION BENEFITS

The acquisition is consistent with all of the tenets in WPX’s five-year vision for
shareholders that the company introduced in November during its third-quarter
report.

“Meeting the five-year targets we communicated is the absolute standard and
benchmark for any investment we make,” said WPX Chairman and Chief Executive
Officer Rick Muncrief.

“Now we can accomplish these objectives for shareholders more quickly and
efficiently with the irrefutable benefits of the Felix transaction.

“Delivering on our plan ahead of schedule in a highly de-risked, leverage-neutral
manner is consistent with our opportunistic approach,” Muncrief added.




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       On a pro forma basis, WPX expects to generate significant free cash flow in 2020
       at $50 oil. Following the acquisition, cash flow per share, earnings per share, free
       cash flow per share, return on capital employed, and cash margins are all expected
       to increase.

       WPX also expects to continue its opportunistic share buybacks, to implement the
       previously mentioned dividend program, and to reduce its leverage to 1.0x by year-
       end 2021.

       WPX based all of its transaction economics on $50 oil, with no assumptions for
       improvements in development costs or operating efficiencies. However, WPX
       believes significant upside exists by capturing synergies associated with scale.

The Proxy Statement Contains Material Misstatements or Omissions

       28.     The defendants filed a materially incomplete and misleading Proxy Statement with

the SEC and disseminated it to WPX’s stockholders. The Proxy Statement misrepresents or omits

material information that is necessary for the Company’s stockholders to make an informed

decision whether to vote in favor of the Proposed Transaction.

       29.     Specifically, as set forth below, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading information

concerning: (i) WPX management’s and Felix’s financial projections, relied upon by the

Company’s financial advisor TPH in its financial analyses; (ii) the data and inputs underlying the

financial valuation analyses that support the fairness opinion provided by TPH; (iii) TPH’s and

Barclays’ potential conflicts of interest; and (iv) the background of the Proposed Transaction.

Material Omissions Concerning WPX’s and Felix’s Financial Projections

       30.     The Proxy Statement omits material information regarding the Company’s and

Felix’s financial projections provided by WPX’s management and relied upon by TPH for its

financial analyses.

       31.     For example, in connection with performing its Net Asset Value Analysis,

Discounted Cash Flow Analysis and Has/Gets Company Pro Forma Net Asset Value Analysis,




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TPH utilized the Company’s and Felix’s unlevered free cash flows (“UFCFs”). Proxy Statement

at 93-4. The Proxy Statement, however, fails to disclose the Company’s and Felix’s UFCFs and

the line items underlying the Company’s and Felix’s UFCFs.

       32.     Additionally, with respect to the Company’s projections the Proxy Statement fails

to disclose: (i) all line items used to calculate (a) Adjusted EBITDA and (b) free cash flow; and

(ii) EBITDA.

       33.     The omission of this information renders the statements in the “Certain Company

Projected Financial Information” and “Opinion of the Company’s Financial Advisor” sections of

the Proxy Statement false and/or materially misleading in contravention of the Exchange Act.

Material Omissions Concerning TPH’s Financial Analyses

       34.     The Proxy Statement describes TPH’s fairness opinion and the various valuation

analyses performed in support of its opinion. However, the description of TPH’s fairness opinion

and analyses fails to include key inputs and assumptions underlying these analyses. Without this

information, as described below, WPX’s public stockholders are unable to fully understand these

analyses and, thus, are unable to determine what weight, if any, to place on TPH’s fairness opinion

in determining whether to vote in favor of the Proposed Transaction.

       35.     With respect to TPH’s Selected Precedent Transactions Analysis, the Proxy

Statement fails to disclose the individual financial metrics and multiples observed for each of the

selected transactions.

       36.     With respect to TPH’s Net Asset Value Analysis, the Proxy Statement fails to

disclose for the Company: (i) the cash flows generated by the estimated proved developed reserves

and undeveloped hydrocarbons; (ii) the value of the Company’s Permian midstream assets; (iii)

estimated effects of hedging; (iv) estimated effects of non-drilling and completion capital




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expenditures; (v) general administrative expenses and taxes; (vi) net debt; and (vii) quantification

of the inputs and assumptions underlying the discount rate range of 8.0% to 11.0%.

       37.     With respect to TPH’s Net Asset Value Analysis, the Proxy Statement fails to

disclose for Felix: (i) the cash flows generated by the estimated proved developed reserves, drilled

but uncompleted wells and undeveloped hydrocarbon resources; (ii) estimated effects of general

and administrative expenses and taxes; (iii) net debt; and (iv) quantification of the inputs and

assumptions underlying the discount rate range of 9.00% to 11.50%.

       38.     With respect to TPH’s Discounted Cash Flow Analysis, the Proxy Statement fails

to disclose: (i) the standalone unlevered free cash flows for each of WPX and Felix; (ii)

quantification of the inputs and assumptions underlying the discount rate ranges of 9.00% to

11.50% for Felix and 8.0% to 11.0% for the Company; and (iii) the Company’s net debt.

       39.     With respect to TPH’s Has/Gets Company Pro Forma Net Asset Value Analysis,

the Proxy Statement fails to disclose: (i) the cash flows generated by the pro forma estimated

proved developed reserves and undeveloped hydrocarbon resources; (ii) the Company’s Permian

midstream assets; (iii) the pro forma future estimated effects of hedging; (iv) the pro forma future

estimated effects of non-drilling and completion capital expenditures; (v) general administrative

expenses and taxes; (vi) pro forma net debt; and (vii) quantification of the inputs and assumptions

underlying the discount rate range of 8.0% to 11.0%

       40.     The omission of this information renders the statements in the “Opinion of the

Company’s Financial Advisor” section of the Proxy Statement false and/or materially misleading

in contravention of the Exchange Act.

Material Omissions Concerning TPH’s and Barclays’ Potential Conflicts of Interest




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       41.     The Proxy Statement omits material information regarding potential conflicts of

interest of TPH.

       42.     Specifically, the Proxy Statement fails to disclose the amount of compensation TPH

has received or will receive for “providing financial advisory services to known controlled

portfolio companies of EnCap Investments L.P.” Id. at 96.

       43.     Additionally, the Proxy Statement fails to disclose details of the Company’s

engagement with its co-financial advisor, Barclays, including: (i) the compensation Barclays

received or will receive in connection with its engagement and participation in the financing of the

Proposed Transaction; (ii) the amount of Barclays’ compensation that is contingent on the

consummation of the Proposed Transaction; and (iii) the past services and amount of compensation

received by Barclays for past services provided to any parties to the Merger Agreement, EnCap

Investments L.P. or each of their affiliates.

       44.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

       45.     The omission of this information renders the statements in the “Opinion of the

Company’s Financial Advisor” and “Background of the Acquisition” sections of the Proxy

Statement false and/or materially misleading in contravention of the Exchange Act.

Material Omissions Concerning the Background of the Proposed Transaction

       46.     The Proxy Statement fails to disclose material information concerning the

background of the Proposed Transaction.




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       47.     For example, the Proxy Statement fails to disclose the specific terms and value of

the December 13, 2019 indication of interest submitted by the party identified in the Proxy

Statement as the “energy company.”

       48.     Additionally, the Proxy Statement fails to disclose whether WPX entered into any

confidentiality agreements with parties other than Felix, and the specific terms of such agreements.

       49.     The omission of this information renders the statements in the “Background of the

Acquisition” section of the Proxy Statement false and/or materially misleading in contravention of

the Exchange Act.

       50.     The Individual Defendants were aware of their duty to disclose the above-

referenced omitted information and acted negligently (if not deliberately) in failing to include this

information in the Proxy Statement. Absent disclosure of the foregoing material information prior

to the stockholder vote on the Proposed Transaction, Plaintiff and the other WPX stockholders will

be unable to make an informed decision whether to vote in favor of the Proposed Transaction and

are thus threatened with irreparable harm warranting the injunctive relief sought herein.


                                     CLAIMS FOR RELIEF

                                              COUNT I

             Claims Against All Defendants for Violations of Section 14(a) of the
                  Exchange Act and Rule 14a-9 Promulgated Thereunder

       26.     Plaintiff repeats all previous allegations as if set forth in full.

       27.     During the relevant period, defendants disseminated the false and misleading Proxy

Statement specified above, which failed to disclose material facts necessary to make the

statements, in light of the circumstances under which they were made, not misleading in violation

of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       28.     By virtue of their positions within the Company, the defendants were aware of this



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information and of their duty to disclose this information in the Proxy Statement. The Proxy

Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented

and/or omitted material facts, including material information about WPX management’s and

Felix’s financial projections, relied upon by the Company’s financial advisor TPH in its financial

analyses, the data and inputs underlying the financial valuation analyses that support the fairness

opinion provided by TPH, TPH’s and Barclays’ potential conflicts of interest, and the background

of the Proposed Transaction. The defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       29.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder would consider them important in deciding how to vote

on the Proposed Transaction.

       30.     By reason of the foregoing, the defendants have violated Section 14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

       31.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive

relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

                 Claims Against the Individual Defendants for Violations of
                            Section 20(a) of the Exchange Act

       32.     Plaintiff repeats all previous allegations as if set forth in full.

       33.     The Individual Defendants acted as controlling persons of WPX within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as officers

and/or directors of WPX, and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the false statements contained in the Proxy Statement filed with the




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SEC, they had the power to influence and control and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

various statements which Plaintiff contends are false and misleading.

       34.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       35.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were, thus, directly involved in the making of the Proxy Statement.

       36.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that

they reviewed and considered—descriptions the Company directors had input into.

       37.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       38.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-

9, promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the




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Exchange Act. As a direct and proximate result of defendants’ conduct, WPX’s stockholders will

be irreparably harmed.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of WPX, and against defendants, as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

               concert with them from proceeding with, consummating, or closing the Proposed

               Transaction and any vote on the Proposed Transaction, unless and until defendants

               disclose and disseminate the material information identified above to WPX

               stockholders;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

               setting it aside or awarding rescissory damages to Plaintiff;

       C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

               as well as SEC Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

               Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.




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                                     JURY DEMAND

Plaintiff demands a trial by jury.


 Dated: February 19, 2020                               WEISSLAW LLP

                                                   By
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